
PER CURIAM.
The petition for belated appeal is granted. Petitioner shall be allowed a belated appeal of the judgment and sentence rendered on January 9, 2009, in Escambia County Circuit Court case number 2007-CF-004560-A. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as a notice of appeal. Fla. RApp. P. 9.141(c)(5)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
PETITION GRANTED.
VAN NORTWICK and PADOVANO, JJ„ and BROWNING, JR., EDWIN B., Senior Judge, concur.
